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           Exhibit A




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1                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
2                                           AT SEATTLE

3
     FEDERAL TRADE COMMISSION,                                 Case No. 2:23-cv-0932-JHC
4
                Plaintiff,
5
           v.
6
     AMAZON.COM, INC., et al.,
7
                Defendants.
8

9

10
                                    DECLARATION OF ADAM ROTTNER
11
                                         (Pursuant to 28 U.S.C. § 1746)
12
                I, Adam Rottner, hereby state that I have personal knowledge of the facts set forth below.
13
     If called as a witness, I could and would testify as follows:
14

15   1.         I am a United States citizen and am over eighteen years of age. I am employed by the

16              Federal Trade Commission (“FTC” or the “Commission”) as a Senior Investigator in the

17              Division of Enforcement, Bureau of Consumer Protection. My office address is 600

18              Pennsylvania Avenue, NW, Washington, DC 20580.

19   2.         A number of attachments are included with this declaration. In accordance with FTC

20              procedures and this Court’s rules, information from some of these attachments may have

21              been redacted in order to protect sensitive information such as financial account numbers,

22              personally identifiable information, and FTC undercover identities.

23   3.         Consistent with Local Rule 10(e)(10), orange highlighting has been added to the

                attachments to indicate excerpts referenced in this declaration or the accompanying
                                                        1




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1            motion. Blue highlighting represents material that is being filed under seal and will be

2            redacted in the public version of this declaration.

3                      THE MAY 4, 2021 MEMO AND MAY 6, 2021 MEETING

4    4.      As stated in the June 18, 2023 Declaration of Adam Rottner (Dkt. #90-2 at 26-332), I

5            refer to document “IC-1” in the in camera document set provided by the FTC to the

6            Court as the “May 4 Memo” (Amazon-FTC-CID_09246136).

7    5.      Based on a review of documents produced by Amazon, it is my understanding that the

8            file name for the May 4 Memo is “Prime Account CX Satisfaction – Privileged &

9            Confidential.” I searched Amazon’s productions and found that the latest version of that

10           document produced by Amazon was dated April 29, 2021. That copy, which contained

11           no redactions, was attached to an April 29, 2021 Chime chat with the title, “Chat with

12           ‘Maheshwari, Siddharth’ mahesidd@amazon.com and 25 more addresses, Pre-Clark

13           Review: Prime Account CX Satisfaction (Privileged & Confidential) – Chat.” A true and

14           correct copy of the April 29, 2021 Chime chat and attached version of the May 4 Memo

15           is attached hereto as Attachment 1.

16   6.      The following documents, found in the in camera document set, have been identified by

17           Amazon as versions of what Amazon has described as a “presentation” prepared for a

18           July 14, 2021 meeting—IC-5, IC-18, IC-19, IC-20, IC-21. Dkt. #52 ¶¶ 19, 23. Based on

19           my prior declaration (Dkt. #90-2 at 326-32), all of these documents were originally

20           produced by Amazon, without redactions, in the investigation leading to this case.

21   7.      On November 22, 2022, during the course of its investigation, FTC counsel sent an email

22           to Amazon counsel identifying three messages in AMZN_00102776 (IC-9) as potentially

23           privileged. Dkt. #90-2 at 247. Amazon clawed back the document and provided a



                                                       2




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1            replacement version with 19 messages redacted. On January 12, 2024 Amazon produced

2            another version of IC-9 that unredacted six of the messages previously redacted, leaving a

3            total of 13 messages redacted. A true and correct copy of the January 12, 2024 version of

4            IC-9 is attached hereto as Attachment 2.

5    8.      On October 24, 2023, FTC counsel sent an email to Amazon counsel that, among other

6            things, asked who authored the documents described as the “July 14 Memo” and “July 14

7            Presentation” in the FTC’s Motion to Compel. I reviewed Amazon’s November 17,

8            2023 letter response and confirmed that it did not answer the question of authorship. A

9            true and correct copy of the October 24, 2023 FTC email and November 17, 2023

10           Amazon letter response are attached hereto as Attachments 3 and 4, respectively.

11   9.      On January 17, 2023, the FTC conducted an investigational hearing of Amazon employee

12           Omar Kalim. Counsel for the FTC marked an April 21, 2022 email (AMZN_00143228,

13           IC-27) as exhibit 13 and questioned Mr. Kalim about the paragraphs in the email labeled

14           CX Satisfaction Upsell and CX Satisfaction Cancel. There were six attorneys who also

15           represented Amazon that were present at the hearing on behalf of Mr. Kalim. None of

16           those attorneys raised a privilege objection to IC-27.

17   10.     On February 7, 2023 Amazon clawed back AMZN_00143228, which was Exhibit 13 at

18           the Kalim investigational hearing. Amazon later reproduced that document with

19           redactions applied to the same “CX Satisfaction Cancel” paragraph about which FTC

20           counsel had questioned Mr. Kalim. A true and correct copy of a re-produced version of

21           this document, bearing Bates number AMZN-PRM-FTC-000000190, is attached hereto

22           as Attachment 5.

23



                                                      3




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1    11.   My previous declaration attached an email chain that included an email from Nahshon

2          Davidai dated October 27, 2020. Dkt. #90-2 at 193. Based on his LinkedIn profile, at the

3          time Mr. Davidai sent the email, he was Amazon’s Director of Prime Member Growth.

4          Other than the attorney (Susan Kremer) added to the email chain by Mr. Davidai, none of

5          the other email recipients have been identified by Amazon as attorneys.

6    12.   On February 7, 2023, Amazon clawed back Amazon-FTC-CID_09389533 (IC-37), which

7          originally had been produced without redactions. My understanding is that on February

8          14, 2023, Amazon produced a new copy of this document, with privilege redactions.

9                                      OTHER DOCUMENTS

10   13.   Attached hereto as Attachment 6 is a true and correct copy of Amazon’s Objections and

11         Responses to Plaintiff’s First Set of Requests for Production of Documents, dated

12         September 5, 2023.

13   14.   Attached hereto as Attachment 7 is a true and correct excerpt of an email chain between

14         the FTC and Amazon’s counsel with the title, “RE: FTC v. Amazon.com, Inc., et al., No.

15         2:23-cv-00932-JHC (W.D. Wash.).” The most recent email in this chain excerpt is dated

16         January 19, 2024.

17   15.   Attached hereto as Attachment 8 is a true and correct excerpt of an email chain between

18         the FTC and Amazon’s counsel with the title, “Re: FTC v. Amazon.com, Inc., et al., No.

19         2:23-cv-00932-JHC (W.D. Wash.).” The most recent email in this chain excerpt is dated

20         January 23, 2024.

21   16.   Attached hereto as Attachment 9 is a true and correct copy of a document produced by

22         Amazon to the FTC beginning with Bates number AMZN_00022853.

23



                                                   4




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1    17.   Attached hereto as Attachment 10 is a true and correct copy of a document produced by

2          Amazon to the FTC beginning with Bates number AMZN_00045704.

3    18.   Attached hereto as Attachment 11 is a true and correct copy of a document produced by

4          Amazon to the FTC beginning with Bates number AMZN_00045916. Amazon has not

5          identified the sender of Attachment 11 as an attorney. Amazon has only identified two of

6          Attachment 11’s 30 recipients as attorneys. Attachment 11 also includes a list of people

7          invited to the July 14, 2021 meeting. Amazon has only identified two of the 22 invitees

8          as attorneys.

9    19.   Attached hereto as Attachment 12 is a true and correct copy of a document produced by

10         Amazon to the FTC beginning with Bates number AMZN_00099452.

11   20.   Attached hereto as Attachment 13 is a true and correct excerpt of a document produced

12         by Amazon to the FTC beginning with Bates number AMZN_00103138. The excerpt

13         begins at page AMZN_00103141.

14   21.   Attached hereto as Attachment 14 is a true and correct copy of a document produced by

15         Amazon to the FTC beginning with Bates number AMZN_00103325.

16   22.   Attached hereto as Attachment 15 is a true and correct copy of a document produced by

17         Amazon to the FTC beginning with Bates number AMZN_00107862.

18   23.   Attached hereto as Attachment 16 is a true and correct copy of a document produced by

19         Amazon to the FTC beginning with Bates number AMZN_00171492.

20   24.   Attached hereto as Attachment 17 is a true and correct copy of a document produced by

21         Amazon to the FTC beginning with Bates number AMZN-PRM-FTC-000000001.

22         Attachment 17 is a July 14, 2021 chat thread that appears to attach copies of the July 14

23



                                                    5




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1           Memo and July 14 Presentation. My understanding is that neither participant in the chat

2           thread is an attorney.

3    25.    Attached hereto as Attachment 18 is a true and correct copy of a document produced by

4           Amazon to the FTC beginning with Bates number Amazon-FTC-CID_09389533.

5    26.    Attached hereto as Attachment 19 is true and correct copy of transcript excerpts from the

6           August 16, 2022 investigational hearing of Reid Nelson.

7    27.    Attached hereto as Attachment 20 is true and correct copy of transcript excerpts from the

8           January 17, 2023 investigational hearing of Omar Kalim.

9

10

11   I declare under penalty of perjury that the foregoing is true and correct.

12

13

14   Executed on January 25, 2024
                                                                             Adam Rottner
15

16

17

18

19

20

21

22

23



                                                       6




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   Attachment 1




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    Attachment 




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                                                                     IC Demonstrative
                                                                      CONFIDENTIAL




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                                                                     IC Demonstrative
                                                                      CONFIDENTIAL




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                                                                      CONFIDENTIAL




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                                                                      CONFIDENTIAL




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                                                                      CONFIDENTIAL




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                                                                      CONFIDENTIAL




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                                                                     IC Demonstrative
                                                                      CONFIDENTIAL




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                                                                      CONFIDENTIAL




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    Attachment 




                                                       Ex. A, Page 43 of 164
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Rottner, Adam

From:                     Capuano, Marc <MCapuano@cov.com>
Sent:                     Friday, December 8, 2023 12:31 PM
To:                       Mendelson, Evan; Jerjian, Olivia; Nardini, Thomas; Hoffman, Elena; Zwonik, Ryan; Frech, Jacob; Mejia-
                          Portillo, Johana; Awad, Yara
Cc:                       Howard, Jim; Payson, Kenneth; jreiter@hueston.com; mkaba@hueston.com; Flahive Wu, Laura; Kelly,
                          Kevin; Kim, Laura; Graubert, John; Anthony, Stephen; Hall, John; Rodgers, Megan;
                          jhueston@hueston.com
Subject:                  RE: FTC v. Amazon - Document Request 1


Counsel,

             p of various CID productions across different matters, we are continuing to investigate the
Given the scope
harmonization of redactions. Please continue to segregate the documents sent earlier this week. We will follow
up with you next week.

Thanks,


Marc Capuano
Pronouns: He/Him/His

Covington & Burling LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956
T +1 202 662 5440 | mcapuano@cov.com
www.cov.com



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immediately advise the sender by reply e-mail that this message has been inadvertently transmitted to you and delete this e-mail from your system.
Thank you for your cooperation.




From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Thursday, December 7, 2023 1:35 PM
To: Capuano, Marc <MCapuano@cov.com>; Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>;
Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>; Mejia-Portillo,
Johana <jmejiaportillo@ftc.gov>; Awad, Yara <yawad@ftc.gov>
Cc: Howard, Jim <JimHoward@dwt.com>; Payson, Kenneth <KennethPayson@dwt.com>; jreiter@hueston.com;
mkaba@hueston.com; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com
Subject: RE: FTC v. Amazon - Document Request 1

[EXTERNAL]
Marc,

Could you please let us know by noon tomorrow whether Amazon is asserting that any of the unredacted portions of the
documents sent on Wednesday night reveal information that is attorney-client privileged or attorney work product? In
the meantime, we are not reviewing the documents.
                                                                            1




                                                                                                                        Ex. A, Page 44 of 164
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Thanks,
Evan

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Capuano, Marc <MCapuano@cov.com>
Sent: Thursday, December 7, 2023 12:19 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>;
Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>; Mejia-Portillo,
Johana <jmejiaportillo@ftc.gov>; Awad, Yara <yawad@ftc.gov>
Cc: Howard, Jim <JimHoward@dwt.com>; Payson, Kenneth <KennethPayson@dwt.com>; jreiter@hueston.com;
mkaba@hueston.com; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com
Subject: RE: FTC v. Amazon - Document Request 1

Counsel,

We had a technical issue with some of the redactions in the informal production that we provided you on
Tuesday. We will be following up with an updated production set and ask that you please disregard and
destroy the previous informal production. We anticipate providing the updated documents by early next week.

Thank you,
Marc



Marc Capuano
Pronouns: He/Him/His

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Washington, DC 20001-4956
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immediately advise the sender by reply e-mail that this message has been inadvertently transmitted to you and delete this e-mail from your system.
Thank you for your cooperation.




From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Tuesday, December 5, 2023 4:19 PM
To: Capuano, Marc <MCapuano@cov.com>; Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>;
Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>; Mejia-Portillo,
Johana <jmejiaportillo@ftc.gov>; Awad, Yara <yawad@ftc.gov>
                                                                            2




                                                                                                                        Ex. A, Page 45 of 164
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Cc: Howard, Jim <JimHoward@dwt.com>; Payson, Kenneth <KennethPayson@dwt.com>; jreiter@hueston.com;
mkaba@hueston.com; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com
Subject: RE: FTC v. Amazon - Document Request 1

[EXTERNAL]
Thanks, Marc. Assuming we receive the Kiteworks link today, we anticipate responding to your letters on Thursday or
Friday.

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Capuano, Marc <MCapuano@cov.com>
Sent: Tuesday, December 5, 2023 2:10 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>;
Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>; Mejia-Portillo,
Johana <jmejiaportillo@ftc.gov>; Awad, Yara <yawad@ftc.gov>
Cc: Howard, Jim <JimHoward@dwt.com>; Payson, Kenneth <KennethPayson@dwt.com>; jreiter@hueston.com;
mkaba@hueston.com; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com
Subject: RE: FTC v. Amazon - Document Request 1

Counsel,

Please see the attached letter. We will follow up separately with a Kiteworks link with the documents.

Additionally, we are reviewing IC-3 and will follow up separately.

Thank you,
Marc



Marc Capuano
Pronouns: He/Him/His

Covington & Burling LLP
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Washington, DC 20001-4956
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www.cov.com



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Thank you for your cooperation.




                                                                            3




                                                                                                                        Ex. A, Page 46 of 164
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From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Friday, December 1, 2023 2:53 PM
To: Capuano, Marc <MCapuano@cov.com>; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>;
Kim, Laura <LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall,
John <jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>; Awad,
Yara <yawad@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

[EXTERNAL]
Counsel,

We are following up to check on when you anticipate providing the less-redaction versions of the documents listed in
my email below.

Additionally, could you please take a second look at IC-3 (which we did not flag in our emails below) and confirm that
you intend to assert the document is fully privileged? We are flagging it because your log states that it is a Headwinds
document, which you generally have not fully withheld, and because Mr. England’s description (Dkt. #52, para. 27)
appears to describe only certain sections of the document as privileged. The privilege log entry (“draft document
conveying information to assist counsel provide legal advice . . .”) also does not appear to match Mr. England’s
description (“document reflects legal advice”).

Thanks,
Evan

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Mendelson, Evan
Sent: Monday, November 20, 2023 12:13 PM
To: Capuano, Marc <MCapuano@cov.com>; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>;
Kim, Laura <LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall,
John <jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

Counsel,

Thank you for your letter, which we are reviewing. In response to your offer at the top of page 7, we confirm that we
will not argue that Amazon’s removal of redactions from IC-7, IC-8, IC-10, IC-11, IC-12, IC-14, IC-16, IC-23, IC-24, IC-25, IC-
                                                               4




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26, IC-27, IC-28, IC-32, IC-33, IC-38, IC-41, IC-42, IC-43, IC-44, IC-45, IC-47, and IC-49 operates as a subject matter waiver
of other communications made at or related to the May 6 Meeting.

Please produce the less-redacted versions of these documents as soon as possible, so that we can determine whether
there remains any dispute as to them.

Our email from the morning of November 17 listed three other documents (IC-13, IC-15, IC-29) that may fall into the
same category as those listed above. It appears from Mr. England’s declaration as though IC-13 and IC-15 are copies of
IC-7. For these three documents, we agree to the same condition as above—Amazon’s production of a less-redacted
version of the documents will not operate as a waiver.

Evan

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Capuano, Marc <MCapuano@cov.com>
Sent: Friday, November 17, 2023 7:21 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin
<Kkelly@cov.com>; Kim, Laura <LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen
<santhony@cov.com>; Hall, John <jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; jhueston@hueston.com;
mkaba@hueston.com; jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim
<JimHoward@dwt.com>; Powar, Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

Counsel,

Please see the attached correspondence. Have a nice weekend.

Marc



Marc Capuano
Pronouns: He/Him/His

Covington & Burling LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956
T +1 202 662 5440 | mcapuano@cov.com
www.cov.com



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Thank you for your cooperation.




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From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Friday, November 17, 2023 9:55 AM
To: Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura <LKim@cov.com>; Graubert,
John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John <jhall@cov.com>; Rodgers, Megan
<mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

[EXTERNAL]
Counsel,

You asked, during our October 30 meet-and-confer, that we follow up regarding documents responsive to the FTC’s
Request 1 as to which we were seeking additional information regarding the validity of Amazon’s privilege claims
(setting aside the FTC’s waiver arguments).

Prior to that call, our October 24 email (below) identified questions regarding the July 14 Memo and July 14
Presentation, which have the following in camera exhibit numbers: IC4, IC5, IC16, IC17, IC18, IC19, IC20, IC21, IC22,
IC31, and IC48. See Questions 6, 7. In the same email, we asked Amazon to unredact information concerning the
company’s “determinations” in the following documents: IC24, IC,25, IC44, IC45, IC23, IC28, IC14, IC26, IC32, IC38, IC41,
IC42, IC42, IC49, IC33, IC47, IC8, IC10, IC11, IC12, IC16, and IC27. See Question 10. Finally, we also asked for information
regarding IC2. See Question 11.

You agreed on our October 30 call to follow-up in writing in response to our October 24 email, but have yet to do
so. We reiterate our request for a written response.

In addition to the questions we already have raised, we have one additional question regarding Amazon’s underlying
privilege claims:

    12. Although omitted from Question 10 of our October 24 email, IC7, IC13, IC15, and IC29 appear to be additional
        documents where Amazon redacted its business “determinations” or “decisions.” We ask that you reevaluate
        these privilege claims for the same reasons stated in Question 10.

The fact that we do not have questions at this time regarding additional documents should not necessarily be taken as
an indication that we accept Amazon’s privilege determinations.

Finally, in an effort to narrow the disputes for the Court, we are proposing Amazon agree, for either some or all the
Clawed Back Documents, to the use of a “quick peek” procedure akin to that described in the 2006 advisory committee
notes to Rule 26. In particular, Amazon could agree to let FTC counsel conduct a one-time review of certain Clawed Back
Documents. This would allow the FTC both to evaluate Amazon’s privilege claims and to decide whether, even if it
disagrees with the claims, the documents are not worth bringing to the Court. This might be most effective for the
documents listed in Questions 10-12. The FTC’s review would not amount to a waiver of Amazon’s privilege claims, and
the FTC would not be permitted to use the documents unless Amazon withdraws its privilege claim or the Court rejects
it. Of course, Amazon has no obligation to agree to this procedure, but we do think it could help narrow the issues.

If any issues relating to Request 1 are not resolved by Tuesday, November 28, we will request a conference with the
Court in advance of filing a motion to compel. As always, we are also available to discuss by phone.

Thanks,

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Evan


Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Mendelson, Evan
Sent: Wednesday, October 25, 2023 11:54 AM
To: Flahive Wu, Laura <lflahivewu@cov.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura <LKim@cov.com>; Graubert,
John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John <jhall@cov.com>; Rodgers, Megan
<mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

Thanks, we’ll send an invite for 11 on Monday.

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Flahive Wu, Laura <lflahivewu@cov.com>
Sent: Wednesday, October 25, 2023 11:34 AM
To: Mendelson, Evan <emendelson@ftc.gov>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura <LKim@cov.com>; Graubert,
John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John <jhall@cov.com>; Rodgers, Megan
<mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: RE: FTC v. Amazon - Document Request 1

Evan,

Counsel for Amazon will be available to confer on Monday between 11 am and 1 pm ET.

Best regards,

Laura

Laura Flahive Wu

                                                        7




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One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956
T +1 202 662 5982 | lflahivewu@cov.com
www.cov.com



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immediately advise the sender by reply e-mail that this message has been inadvertently transmitted to you and delete this e-mail from your system.
Thank you for your cooperation.




From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Tuesday, October 24, 2023 6:41 PM
To: Kelly, Kevin <Kkelly@cov.com>; Flahive Wu, Laura <lflahivewu@cov.com>; Kim, Laura <LKim@cov.com>; Graubert,
John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John <jhall@cov.com>; Rodgers, Megan
<mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; jhueston@hueston.com; mkaba@hueston.com;
jreiter@hueston.com; Payson, Kenneth <KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; Powar,
Olivia (OliviaPowar@dwt.com) <OliviaPowar@dwt.com>
Cc: Jerjian, Olivia <ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>;
Zwonik, Ryan <rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Subject: FTC v. Amazon - Document Request 1

[EXTERNAL]
Counsel,

Please let us know when you are available to meet and confer regarding the FTC’s Document Request 1, which
requested that Amazon produce documents it clawed back on privilege grounds during the FTC’s investigation (the
“Clawed Back Documents”). Amazon stated that it was withholding all documents responsive to Request 1 as
privileged. We are generally available on October 26, 27, and 30 (outside of 1:00-2:00 Eastern). If the meet-and-confer
does not resolve Amazon’s privilege objections, we intend to request a conference with the Court in advance of filing a
motion to compel or asking the Court to resolve any remaining disputes based on the parties’ prior briefing.

As you know, our position is that Amazon either waived privilege as to the Clawed Back Documents or that, in the
alternative, in camera review is warranted because there are sufficient questions about whether the documents were
ever privileged. Those arguments are laid out in our Motion to Desequester (Dkt. #4) and Reply in support thereof (Dkt.
#59). Additionally, for some documents (identified below in Items 6, 7, 10, 11), we do not believe Amazon has met its
burden of supporting its privilege claim; for those documents, we intend to argue that in camera review is not necessary
to compel production even if the Court finds no waiver.

Below is a non-exhaustive list of the topics we would like to cover:

     1. When, and how, did Amazon discover its purportedly inadvertent productions of the Clawed Back
        Documents? It is difficult to see how the Court can evaluate the “promptness” requirement of Rule 502(b)
        without knowing the answer to these questions.

     2. For which documents did Amazon “learn[] of the privileged nature of the material only after it had conducted its
        initial review” (Dkt. #50 at 18)? When, and how, did Amazon learn the documents were privileged?

     3. Does Amazon contend it acted promptly in clawing back what our Motion describes as the May 4 Memo
        (IC1)? If so, what facts support that contention, given the 40-day delay between the memo’s use as an IH exhibit
        and your privilege assertion?

                                                                            8




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   4. What reasonable steps did Amazon take to prevent the January 5, 2023 production of IC4 (a copy of what our
      Motion describes as the “July 14 Memo”)? Relatedly, why did Amazon tell the FTC on January 5 that it had
      determined IC4 was only “partially privileged”?

   5. Does Amazon contend it acted promptly in clawing back all other copies of the July 14 Memo 18 days after the
      January 20 investigational hearing at which Amazon declared the memorandum to be privileged? If so, what
      facts support that contention?

   6. Who drafted the July 14 memo (IC4) and July 14 presentation (IC5), and to whom were they distributed? See
      England Decl. (Dkt. #52) ¶ 19 (stating documents “were prepared”—by an unidentified author—and sent to
      Mark England and Praju Tuladhar, but not identifying other recipients). Does Amazon contend that the primary
      purpose of the documents was to request legal advice?

   7. On IC31 and IC48, does Amazon contend that Jamil Ghani’s handwritten notes are privileged? See England Decl.
      ¶ 21. If so, what is the basis for that assertion?

   8. Does Amazon contend it acted promptly in clawing back IC40 on February 7, 2023—49 days after the document
      was marked as an exhibit at the investigational hearing of Dharmesh Mehta? If so, what facts support that
      contention?

   9. Does Amazon contend it acted promptly in clawing back IC27 on February 7, 2023—21 days after the document
      was marked as an exhibit at the investigational hearing of Omar Kalim? If so, what facts support that
      contention?

   10. For the following documents, or certain excerpts thereof, the only privilege justifications included in the
       Declaration of Mark England (Dkt. #52) are that the documents reflect “determinations made during the May 6
       Meeting as the result of legal advice discussed during that meeting”: IC10, IC11, IC12, IC16, and IC27. We do
       not see how Amazon’s determinations (particularly about its public-facing user flows) could be privileged, even
       if Amazon considered legal advice in making those determinations. See, e.g., Upjohn v. United States, 449 U.S.
       383, 395 (“The privilege only protects disclosure of communications . . . .”); In re MacBook Keyboard Litig., 2020
       WL 1265629, at *3 (N.D. Cal. Mar. 17, 2020) (“[S]tanding alone, the fact that Apple determined [Redacted] is not
       privileged, even if that decision was informed by advice by legal counsel.” (alteration in original)). There are
       several other documents for which one basis for Amazon’s redactions was to protect the same
       “determinations.” See England Decl. ¶¶ 31-32. We ask that Amazon unredact any redactions made solely to
       protect Amazon’s “determinations.”

   11. Does Amazon contend that the primary purpose of IC-2 was to seek legal advice? Did either Mr. England or Mr.
       Tuladhar respond to the email? Although not dispositive, the latter question is relevant to whether the email’s
       primary purpose was to obtain legal advice.

Thanks,
Evan

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Enforcement Division
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Washington, DC 20580
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    Attachment 




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Via Electronic Mail                                                November 17, 2023

Evan Mendelson
Division of Enforcement
Federal Trade Commission
600 Pennsylvania Ave., N.W., Suite CC-9528
Washington, D.C. 20580


        Re: FTC v. Amazon.com, Inc., No. 2:23-cv-0932-JHC (W.D.
              Wash.) October 30, 2023 Follow-Up

Counsel:

         Amazon.com, Inc. (“Amazon”) writes in response to your October 24 and November 17,
2023 emails and in follow-up to the parties’ October 30, 2023 meet-and-confer regarding
documents subject to Amazon’s privilege claims, raised in response to the FTC’s first Request for
Production of Documents. The same documents were the subject of the FTC’s Motion to
Desequester, which the Court denied on October 23, 2023. The purpose of this correspondence
is to respond to the FTC’s inquiries by providing additional information about Amazon’s
privilege claims, and to clarify the scope of any remaining points of disagreement. Nothing in
this letter is intended to or should be construed to constitute a waiver of Amazon’s attorney-
client privilege or work product protection asserted in its privilege logs.

         In its Motion to Desequester, the FTC sought full access to 54 documents, 31 of which
were produced with minimal redactions. Amazon documented the clawback of these documents
in five letters over the course of the FTC’s multi-year investigation. For the reasons described
below, Amazon maintains that its assertions of privilege are valid, that its clawbacks were
proper and reasonable, and that no waiver has occurred. Nonetheless, in the interest of
reaching a compromise and avoiding further motion practice, Amazon agrees to revisit certain
document redactions, subject to your agreement regarding subject matter waiver.1

I.      Amazon Took Reasonable Steps to Protect Its Privileged Materials

      In its October 24 and November 17 emails, the FTC asked Amazon to provide detailed
information regarding the process by which Amazon determined that it had inadvertently
produced the privileged documents that it identified in its letters dated January 5, January 13,


1 The FTC has not raised any specific concerns regarding the documents identified in Amazon’s

November 29, 2022 and April 12, 2023 letters, IC-9 and IC-30, respectively. Please notify
Amazon if the FTC has any concerns about IC-9 or IC-30.




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Evan Mendelson
November 17, 2023
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and February 7, 2023. While certain details regarding Amazon’s review, including the specific
steps Amazon’s counsel took and the specific information they considered, are protected
attorney work product, Amazon is sharing a high-level chronology of relevant events, which
underscores the reasonableness of Amazon’s actions.

        As an overarching matter, and as we stated on the October 30 meet-and-confer,
Amazon’s actions with respect to the clawbacks were objectively reasonable. Given the context
of the investigation — and the document productions and clawbacks made during it — it is
meritless to suggest that clawbacks made within several weeks of Amazon becoming aware of a
potential privilege issue constitute a privilege waiver. See Transamerica Computer Co. v. Int’l
Bus. Machines Corp., 573 F.2d 646, 651 (9th Cir. 1978) (affirming order finding no waiver,
despite inadvertent production of privileged documents, where defendant had been ordered “to
produce a large number of documents . . . in a relatively short time”). As set out below, Amazon
followed a prompt and rigorous process upon learning of the potential inadvertent production of
privileged materials during the course of investigational hearings (“IHs”). The speed with which
Amazon completed its review was affected by the competing demands of a condensed schedule
of dozens of IHs; the voluminous nature of Amazon’s document productions to the FTC; and the
mechanics of dealing with materials produced to the FTC in connection with unrelated matters.

        The FTC has not identified any problems with Amazon’s clawback process, with the
possible exception of it not being quick enough.2 Any such suggestion is wrong. And moreover,
the FTC has identified no prejudice it suffered by the clawbacks. Amazon’s clawbacks were
objectively reasonable. It did not waive privilege.

       A.     Overview of the Process Behind the January 5, January 13, and February 7
              Letters

       Amazon made clawbacks within several weeks of becoming aware of the potential
inadvertent production of privileged material during IHs. Those actions are objectively
reasonable, particularly given the scale of production and time pressure imposed by FTC staff.

        As to each clawed back document, Amazon engaged in a diligent internal review process
that reasonably took, at most, several weeks to complete. Upon discovering potentially
privileged documents, Amazon’s counsel worked to understand the factual bases for and
evaluate potential privilege claims by speaking with additional witnesses and in-house counsel.
Based on these conversations, Amazon was then able to determine that certain documents had
been improperly coded as “not privileged.” Shortly after Amazon made this determination, it
worked to formally claw back the privileged material and provide updated privilege logs to the
FTC. Because production was ongoing, this process required Amazon to not only investigate
whether other similar documents had been improperly coded and produced, but also update its
process for reviewing upcoming productions.




2 Amazon does not understand the FTC’s November 17, 2023 email to raise any process issues

with Amazon’s clawbacks.




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Evan Mendelson
November 17, 2023
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        Adding to the complexity of this review process, there are often different versions of a
single document with different contributors across time. Accordingly, in order to properly
protect privileged information, while also giving the FTC the greatest access possible to non-
privileged documents, Amazon had to search for different versions and implement privilege calls
across multiple versions of documents.

        Amazon promptly completed this extensive review process despite an ongoing
production of significant scale and time pressure imposed by FTC staff. See United States v.
Wells Fargo Bank, N.A., 2015 WL 5051679, at *2 (S.D.N.Y. Aug. 26, 2015) (clawback that
occurred “more than six weeks” after party was notified that it had produced privileged
documents was not “unreasonable” given “the scale of discovery” in the case). Staff required
Amazon to complete dozens of IHs and additional document productions over the course of four
months, from October 2022 through January 2023. In order to comply with the FTC’s tight
schedule in the investigation, Amazon issued documents in rolling productions. Throughout
this process, Amazon took reasonable steps to evaluate potential privilege claims and apply
privilege determinations systematically despite having to quickly prepare these large, complex
productions. At the same time that Amazon was making large, rolling document productions,
the FTC was engaged in a significant number of IH hearings on a condensed schedule. While
preparing for and participating in these IHs, Amazon raised privilege concerns with the FTC.
However, Amazon did not halt its productions or the IH process while it investigated these
concerns because it relied on the FTC’s representation that Amazon could later claw back
inadvertently produced documents even after they were permitted to be used in IHs.3

       B.      January 5 Letter

        The summary above demonstrates the reasonableness of Amazon’s conduct with respect
to the documents clawed back in Amazon’s January 5 letter. The five documents that were
clawed back in the January 5 letter — IC-7, IC-11, IC-12, IC-13, and IC-15 — were produced with
partial redactions, while Amazon was continuing to collect information from witnesses. This
conduct is reasonable, as explained above. It is Amazon’s understanding that the FTC has
questions regarding the “determinations made during the May 6 meeting as the result of legal
advice discussed during that meeting” for IC-11 and IC-12. Amazon addresses these questions
below in Section II.B.




3 In the first IH of the investigation that Covington was permitted to attend, the FTC gave

Amazon assurance that the use of a document in an IH would not constitute a waiver of
privilege. Oct. 21, 2022 Lindsay Tr. 23:11-20 (“So we’ll stipulate on the record that the use of
any document that has any indication of privilege or confidential during this investigational
hearing waives nothing at all on behalf of Amazon if all that is done is just sort of ask the witness
. . . absolutely, positively no waiver by virtue of the use of the document here.”); Id. 240:18-21
(“We will not argue that the fact that you allowed the testimony to continue with respect to those
documents means that you cannot claw them back or make any other arguments with respect to
those documents.”).




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Evan Mendelson
November 17, 2023
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        If the FTC believes that Amazon has waived privilege protection over IC-7, IC-11, IC-12,
IC-13, or IC-15, please explain the objection and the basis for that objection. Additionally, if the
FTC has any objection to the redactions in IC-7, IC-11, IC-12, IC-13, or IC-15 outside of those
applying to what the FTC calls “determinations” about the May 6 meeting, please explain the
objection and the basis for the objection. Please clarify the FTC’s position with regard to these
redactions in writing.

       C.      January 13 Letter

        The summary above also demonstrates the reasonableness of Amazon’s conduct with
respect to the documents clawed back in the January 13 letter. The three documents at issue in
that letter — IC-1, IC-34 and IC-36 — were all produced from unrelated investigations. In the
Prime investigation, Amazon had clearly asserted privilege over the May 6, 2021 meeting and
related documents. During Amazon’s corporate IH on January 11, 2023, it became clear that,
despite this clear privilege claim, staff had nonetheless searched for documents regarding the
May 6, 2021 meeting in productions made by Amazon in separate FTC investigations. This
action was surprising and offensive to the Federal Rules.

        Amazon’s first step following the FTC’s action was to claw back the three documents that
were introduced. IC-1, IC-34 and IC-36 were used in Amazon’s corporate IH on January 11,
2023. All three were clawed back on the record during the IH. Amazon then sent a follow-up
letter on January 13 formalizing the claw back of these documents.

       The FTC raised that IC-1 was used as an exhibit in Russ Grandinetti’s IH on December 2,
2022. Each witness has different factual knowledge and so not every witness has the factual
knowledge to raise privilege concerns from looking at a document. Mr. Grandinetti was not in a
position to raise privilege concerns from briefly seeing the document in his IH.

        If the FTC believes that Amazon has waived privilege protection over IC-1 for any reason
besides prompt action, please explain the objection and the basis for that objection. Amazon is
unaware of concerns from the FTC with the claw back of IC-34 and IC-36. If the FTC has any
objection to the privilege protection of IC-34 or IC-36, please explain the objection and the basis
for that objection. Please clarify the FTC’s position with regard to these documents in writing,
including explaining why the FTC did not raise potential privilege issues about these documents
in advance of IHs in which they were used and why (if at all) the FTC’s assurance that a
document used during an IH could later be clawed back does not apply.

       D.      February 7 Letter

       Following the FTC’s decision to use its access to other investigative databases to
undermine Amazon’s privilege protection, Amazon’s second step was to undertake a
comprehensive re-review of its privilege coding across all of these additional investigations.
This was a significant undertaking. The team working on this re-review needed to understand
the coding and collection decisions made in two other investigations. This required discussion
with additional witnesses, outside counsel teams, and in-house counsel teams. During this re-
review, IHs continued without delay.




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Evan Mendelson
November 17, 2023
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       During the January 20, 2023 Amazon corporate IH, Amazon’s counsel clawed back IC-31
— a document pertaining to the July 14, 2021 meeting discussed in Section II.A — when it was
introduced. Following the January 20 IH, Amazon further investigated this document, meeting,
and related documents. As part of that investigation, which included speaking with meeting
attendees, Amazon learned about the full privileged nature of this meeting and related
documents.

        Documents clawed back as part of the February 7 letter and following further factual
investigation included:

               1.     IC-27

       This document, used during the IH of Omar Kalim, was clawed back and redacted
following additional factual investigation. It is subject to Section II.B below.

               2.     IC-31

       As discussed above, this document was clawed back during the corporate IH on January
20 and formalized in writing as part of the February 7 letter.

               3.     IC-40

       IC-40 is a document that Amazon clawed back during Dharmesh Mehta’s IH. Amazon
was prompt in its reaction to the FTC’s use of the documents during Mr. Mehta’s IH.

        Amazon raised privilege concerns to staff during the IH and followed up by investigating
the privileged nature of this document and any associated testimony. Staff found the document
through a merger investigation with a completely different subject matter. Mr. Mehta’s role at
the company was tangentially, if at all, related to the FTC’s Prime investigation. As a result,
outside counsel was not familiar with or aware of the teams that contributed to the document.
Nevertheless, counsel immediately raised the concern that the document could be privileged and
consulted with the witness.

       In order to understand if any lawyers contributed to or authored this document, outside
counsel needed to discuss with teams beyond the Prime program. Coordinating between these
teams and interviewing the proper employees were further complicated by the fact that the
document was introduced a week before Christmas.

       If the FTC believes that Amazon has waived privilege protection over IC-40 for any
reason besides prompt action please explain the objection and the basis for that objection in
writing.

               4.     IC-37, IC-46, IC-50, IC-51, IC-52, IC-53, IC-54, and IC-55

        Amazon is unaware of concerns from the FTC with the claw back of IC-37, IC-46, IC-50,
IC-51, IC-52, IC-53, IC-54, and IC-55. If the FTC has any objection to the privilege protection of




                                                                                Ex. A, Page 58 of 164
  Case 2:23-cv-00932-JHC Document 140-2 Filed 01/25/24 Page 59 of 164




Evan Mendelson
November 17, 2023
Page 6


IC-37, IC-46, IC-50, IC-51, IC-52, IC-53, IC-54, or IC-55, please explain the objection and the
basis for that objection in writing.

II.    Amazon Has Properly Substantiated Its Privilege Claims on Its Privilege Log
       and through the Declaration of Mark England

        Amazon’s privilege logs confirm the privileged nature of the documents that were clawed
back. Mark England’s declaration gives additional background to substantiate Amazon’s
privilege claims. To date, the FTC has not identified any deficiencies in Amazon’s privilege logs.
If the FTC believes any log to be deficient, please explain the purported deficiency.

        The FTC has raised questions about whether privilege extends to the July 14 memo and
related presentations (e.g., IC-4, IC-5, IC-17) (the “July 14 Memo”), and the outcome of legal
guidance given at the May 6 meeting.4 Amazon is unaware of any other specific privilege
objections to the rest of the document set. If the FTC believes that any additional document or
set of documents are not protected by privilege, please explain the basis for that belief in writing.

       A.      July 14 Memo

        The July 14 Memo was prepared in order to obtain legal advice and has been properly
logged as privileged. AT&T Corp. v. Microsoft Corp., 2003 WL 21212614, at *3 (N.D. Cal. Apr.
18, 2003) (“Communications containing information compiled by corporate employees for the
purpose of seeking legal advice and later communicated to counsel are protected by attorney-
client privilege.”) (citing Upjohn v. United States, 449 U.S. 383, 394-95 (1981)). These meeting
materials, some of which contain Jamil Ghani’s handwritten notes while receiving advice, have
also been properly logged as privileged. Branch v. Umphenour, 936 F.3d 994, 1005–06 (9th
Cir. 2019) (“The attorney-client privilege protects confidential disclosures made by a client to an
attorney in order to obtain legal advice ... as well as an attorney’s advice in response to such
disclosures.”). The July 14 Memo was prepared to provide two Amazon attorneys “with
information about specific changes that the Prime team was contemplating, so that [the
attorneys] could provide legal advice during the July 14 Meeting regarding those contemplated
changes.” England Declaration ¶ 21. As such, Amazon’s privilege claim over this memo is valid.

       B.      May 6 Meeting Redactions

        Contrary to the FTC’s suggestion, Amazon has not redacted or claimed privilege over the
non-privileged implementation of changes to Prime’s enrollment flows. Instead, Amazon has
redacted references to the timing of advice provided by legal counsel, which is properly logged as
privileged. The court in In re MacBook Keyboard Litig., a citation offered by the FTC, held that
while plaintiffs were “entitled to discover what Apple decided” . . . “[p]laintiffs may not inquire
about what advice Apple’s legal counsel gave or how that advice informed Apple’s decision.”
2020 WL 1265629, at *4 (N.D. Cal. Mar. 17, 2020). Nonetheless, Amazon has further reviewed

4 Regarding IC-2, Amazon directs the FTC to the England Declaration (¶ 26), which

substantiates the privilege claim. Amazon has not located a response to the email shown in IC-
2.




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Evan Mendelson
November 17, 2023
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its redactions to IC-7, IC-8, IC-10, IC-11, IC-12, IC-14, IC-16, IC-23, IC-24, IC-25, IC-26, IC-27,
IC-28, IC-29, IC-32, IC-33, IC-38, IC-41, IC-42, IC-43, IC-44, IC-45, IC-47, and IC-49 and is
willing to narrow its redactions if the FTC agrees that it will not argue that Amazon’s production
of the previously redacted information acts as a subject matter waiver of other communications
made at or related to the May 6 meeting. Please let us know if the FTC agrees to this condition.

III.   Quick Peek Procedure

        In the FTC’s November 17, 2023 email, it asked whether Amazon would consider
agreeing to a “quick peek” procedure to allow FTC staff a one-time look — without any privilege
waiver — at some or all of the clawback documents to assess Amazon’s privilege claims. Given
that this letter addresses and responds to the FTC’s privilege arguments and questions, Amazon
does not agree to the “quick peek” procedure.

                                                                    Sincerely,



                                                                    Laura Kim
                                                                    John Graubert
                                                                    John Hall
                                                                    Laura Flahive Wu
                                                                    Stephen Anthony
                                                                    Megan Rodgers




                                                                                 Ex. A, Page 60 of 164
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    Attachment 




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                                                       Ex. A, Page 63 of 164
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                                                       Ex. A, Page 64 of 164
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                                                       Ex. A, Page 65 of 164
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                                                       Ex. A, Page 66 of 164
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                                                       Ex. A, Page 67 of 164
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                                                       Ex. A, Page 68 of 164
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 1                                                                         The Honorable John H. Chun

 2
 3

 4

 5
 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                                 No. 2:23-cv-0932-JHC
 9                              Plaintiff,                   DEFENDANT’S OBJECTIONS AND
                                                             RESPONSES TO PLAINTIFF’S
10          v.                                               FIRST SET OF REQUESTS FOR
                                                             PRODUCTION OF DOCUMENTS
11 AMAZON.COM, INC.,
12                              Defendant.
13
14          Pursuant to Federal Rule of Civil Procedure 26 and 34, Defendant Amazon.com, Inc.
15 (“Amazon”) hereby provides the following objections and responses to Plaintiff’s First Set of
16 Requests for Production of Documents, dated August 4, 2023, as follows.
17                               I.          PRELIMINARY STATEMENT
18          1.      Amazon makes the following responses without prejudice to its rights to rely on
19 or use, at trial or other judicial proceedings in this action, subsequently discovered facts,
20 documents, or information, or facts, documents, and information omitted from these responses as

21 a result of mistake, error, oversight, or inadvertence.

22          2.      In responding to these Requests, Amazon neither waives nor intends to waive, and
23 instead expressly reserves, any and all objections it may assert now or in the future, including
24 objections to the relevance, competence, materiality, admissibility, or use (including introduction

25 at trial or any hearing in this action) of any document or information produced in response to any

26 Request. Amazon’s representations concerning whether it is withholding documents pursuant to
27
     AMAZON’S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S FIRST SET OF RFPS                                              Davis Wright Tremaine LLP
                                                                                         L AW O FFICE S
     (2:23-cv-0932-JHC) - 1                                                        920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax




                                                                                           Ex. A, Page 69 of 164
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 1 any specific objection are based on its current understanding and the information reasonably

 2 available to it at this time.
 3                            II.    OBJECTIONS TO INSTRUCTIONS
 4          1.      Amazon objects to Plaintiff’s instructions to the extent that they purport to impose

 5 obligations or burdens on Amazon that go beyond those imposed by the Federal Rules of Civil

 6 Procedure and the Local Civil Rules. Amazon will comply with the Federal Rules of Civil

 7 Procedure and the Local Civil Rules, but assumes no further obligations in responding to these

 8 requests.
 9                    III.    OBJECTIONS AND RESPONSES TO REQUESTS
10 REQUEST FOR PRODUCTION NO. 1:

11          All 54 documents listed in Attachment 37 to the June 18, 2023 Declaration of Adam

12 Rottner (Dkt. #4-1 at 302-08) without redactions.
13 RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
14          Amazon objects to the Request because it seeks documents and information that are

15 protected from discovery by the attorney-client privilege, the work product doctrine, and other
16 applicable privileges, immunities, and protections. See, e.g., United States v. ChevronTexaco
17 Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002) (protecting “communications between
18 corporate personnel and their in-house counsel made for the purpose of securing legal advice are
19 protected by the privilege.”); United States v. Nobles, 422 U.S. 225, 237-38 (1975); see also

20 Def.’s Opp’n to Pl.’s Mot. to Desequester, ECF No. 50. Amazon further objects to the Request
21 because it calls for documents that are not relevant to any party’s claims or defenses. Separate

22 from and in addition to the above objections, Amazon objects to producing any confidential
23 materials until an appropriate protective order is entered by the Court.

24          Subject to and without waiving these objections, Amazon responds that all documents

25 responsive to the Request are protected from discovery either wholly or in part by the attorney-

26 client privilege and/or the work product doctrine. Amazon will provide a privilege log with
27
     AMAZON’S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S FIRST SET OF RFPS                                              Davis Wright Tremaine LLP
                                                                                         L AW O FFICE S
     (2:23-cv-0932-JHC) - 2                                                        920 Fifth Avenue, Suite 3300
                                                                                     Seattle, WA 98104-1610
                                                                              206.622.3150 main · 206.757.7700 fax




                                                                                           Ex. A, Page 70 of 164
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 1 entries for each of the responsive documents. Amazon has previously produced to Plaintiff

 2 redacted versions of the documents responsive to the Request that are privileged in part.
 3

 4          DATED this 5th day of September, 2023.

 5
 6
                                                 DAVIS WRIGHT TREMAINE LLP
 7

 8                                               By s/ Kenneth E. Payson
                                                    Kenneth E. Payson, WSBA #26369
 9                                                  James Howard, WSBA #37259
                                                    920 Fifth Avenue, Suite 3300
10                                                  Seattle, WA 98104-1610
                                                    Telephone: (206) 622-3150
11                                                  Fax: (206) 757-7700
                                                    E-mail: kenpayson@dwt.com
12                                                           jimhoward@dwt.com
13
                                                 COVINGTON & BURLING LLP
14
                                                     Stephen P. Anthony*
15                                                   Laura Flahive Wu*
                                                     Laura M. Kim*
16                                                   John D. Graubert*
                                                     850 Tenth Street, NW
17                                                   Washington, DC 20001
                                                     Telephone: (206) 662-5105
18                                                   E-mail: santhony@cov.com
                                                             lflahivewu@cov.com
19                                                           lkim@cov.com
                                                             jgraubert@cov.com
20

21                                                   John E. Hall*
                                                     415 Mission Street, Suite 5400
22                                                   San Francisco, CA 94105
                                                     Telephone: (415) 591-6855
23                                                   E-mail: jhall@cov.com
24
                                                     Megan L. Rodgers*
25                                                   3000 El Camino Real
                                                     Palo Alto, CA 94306
26                                                   Telephone: (650) 632-4734
                                                     E-mail: mrodgers@cov.com
27
     AMAZON’S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S FIRST SET OF RFPS                                           Davis Wright Tremaine LLP
                                                                                      L AW O FFICE S
     (2:23-cv-0932-JHC) - 3                                                     920 Fifth Avenue, Suite 3300
                                                                                  Seattle, WA 98104-1610
                                                                           206.622.3150 main · 206.757.7700 fax




                                                                                        Ex. A, Page 71 of 164
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                                            HUESTON HENNIGAN LLP
 1
                                               John C. Hueston*
 2                                             Moez M. Kaba*
                                               Joseph A. Reiter*
 3                                             523 West 6th Street, Suite 400
                                               Los Angeles, CA 90014
 4                                             Telephone: (213) 788-4340
                                               E-mail: jhueston@hueston.com
 5                                                    mkaba@hueston.com
                                                      jreiter@hueston.com
 6
                                            *admitted pro hac vice
 7
                                            Attorneys for Defendant
 8                                          AMAZON.COM, INC.
 9
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     AMAZON’S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S FIRST SET OF RFPS                                      Davis Wright Tremaine LLP
                                                                                 L AW O FFICE S
     (2:23-cv-0932-JHC) - 4                                                920 Fifth Avenue, Suite 3300
                                                                             Seattle, WA 98104-1610
                                                                      206.622.3150 main · 206.757.7700 fax




                                                                                   Ex. A, Page 72 of 164
      Case 2:23-cv-00932-JHC Document 140-2 Filed 01/25/24 Page 73 of 164




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that I caused a true and correct copy of the document to which this

 3 Certificate of Service is attached to be served in the manner as indicated below:
 4
             EVAN MENDELSON (D.C. Bar #996765)               ‫ ܆‬Messenger
 5           OLIVIA JERJIAN (D.C. Bar #1034299)              ‫ ܆‬U.S. Mail, postage prepaid
 6           THOMAS MAXWELL NARDINI                          ‫ ܆‬Federal Express
             (IL Bar #6330190)
                                                             ‫ ܆‬Facsimile
 7           Federal Trade Commission
             600 Pennsylvania Avenue NW                      ‫ ܈‬Email
 8           Washington, DC 20580                            ‫ ܆‬ECF
             (202) 326-3320; emendelson@ftc.gov
 9           (202) 326-2749; ojerjian@ftc.gov
10           (202) 326-2812; tnardini@ftc.gov

11           Attorneys for Plaintiff

12
13          Declared under penalty of perjury under the laws of the State of Washington.

14          DATED this 5th day of September, 2023.

15
                                                  s/ Kenneth E. Payson
16                                                Kenneth E. Payson, WSBA #26369
17
18

19
20

21

22

23
24

25

26
27
     AMAZON’S OBJECTIONS AND RESPONSES TO
     PLAINTIFF’S FIRST SET OF RFPS                                             Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
     (2:23-cv-0932-JHC) - 5                                                       920 Fifth Avenue, Suite 3300
                                                                                    Seattle, WA 98104-1610
                                                                             206.622.3150 main · 206.757.7700 fax




                                                                                          Ex. A, Page 73 of 164
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    Attachment 




                                                       Ex. A, Page 74 of 164
            Case 2:23-cv-00932-JHC Document 140-2 Filed 01/25/24 Page 75 of 164




Rottner, Adam

From:                Mendelson, Evan
Sent:                Friday, January 19, 2024 5:42 PM
To:                  Flahive Wu, Laura; Joseph Aronsohn; Jerjian, Olivia; Nardini, Thomas; Hoffman, Elena; Zwonik, Ryan;
                     Frech, Jacob
Cc:                  John C. Hueston; Moez M. Kaba; Joseph A. Reiter; Vicki Chou; Kelly, Kevin; Kim, Laura; Graubert, John;
                     Anthony, Stephen; Hall, John; Rodgers, Megan; Capuano, Marc; Payson, Kenneth; Howard, Jim; SEA
                     Docket; Chan, Gina; Green, Jennifer; Mejia-Portillo, Johana; Awad, Yara; MacDonald, Colin;
                     kristinachin@dwt.com
Subject:             RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)
Attachments:         FTC Scanned Document_12062023105305.pdf


In addiƟon to the materials cited below, we also plan on Įling or describing:

      18. AMZN_00171492
      19. Nelson IH Tr. 111
      20. The aƩached document (which you provide to us in hard copy during the invesƟgaƟon)

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Flahive Wu, Laura <lflahivewu@cov.com>
Sent: Wednesday, January 17, 2024 7:15 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Joseph Aronsohn <jaronsohn@hueston.com>; Jerjian, Olivia
<ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan
<rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Cc: John C. Hueston <jhueston@hueston.com>; Moez M. Kaba <mkaba@hueston.com>; Joseph A. Reiter
<jreiter@hueston.com>; Vicki Chou <vchou@hueston.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; Payson, Kenneth
<KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; SEA Docket <SEADocket@dwt.com>; Chan, Gina
<GinaChan@dwt.com>; Green, Jennifer <JenniferGreen@dwt.com>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>;
Awad, Yara <yawad@ftc.gov>; MacDonald, Colin <cmacdonald@ftc.gov>; kristinachin@dwt.com
Subject: RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)

Counsel,

We will review the materials you have identified. We can be available for a call on Monday, January 22 between 2 and 4
pm ET.

Regards,

Laura

Laura Flahive Wu
                                                            1




                                                                                               Ex. A, Page 75 of 164
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Covington & Burling LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956
T +1 202 662 5982 | lflahivewu@cov.com
www.cov.com



This message is from a law firm and may contain information that is confidential or legally privileged. If you are not the intended recipient, please
immediately advise the sender by reply e-mail that this message has been inadvertently transmitted to you and delete this e-mail from your system.
Thank you for your cooperation.




From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Wednesday, January 17, 2024 4:10 PM
To: Flahive Wu, Laura <lflahivewu@cov.com>; Joseph Aronsohn <jaronsohn@hueston.com>; Jerjian, Olivia
<ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan
<rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Cc: John C. Hueston <jhueston@hueston.com>; Moez M. Kaba <mkaba@hueston.com>; Joseph A. Reiter
<jreiter@hueston.com>; Vicki Chou <vchou@hueston.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; Payson, Kenneth
<KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; SEA Docket <SEADocket@dwt.com>; Chan, Gina
<GinaChan@dwt.com>; Green, Jennifer <JenniferGreen@dwt.com>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>;
Awad, Yara <yawad@ftc.gov>; MacDonald, Colin <cmacdonald@ftc.gov>; kristinachin@dwt.com
Subject: RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)

[EXTERNAL]
Counsel,

With our MoƟon to Compel documents in response to the FTC’s RFP 1, we are planning to Įle certain documents,
tesƟmony, and informaƟon (listed below) that Amazon has marked ConĮdenƟal under the Court’s ProtecƟve Order (Dkt.
#124). Pursuant to SecƟon 5.4 of the ProtecƟve Order and Local Rule 5(g), please let us know if you will withdraw any of
your conĮdenƟality designaƟons or will propose redacƟons to any of the documents. Assuming that you are not fully
withdrawing your conĮdenƟality designaƟons, please let us know your availability for a meet-and-confer tomorrow
(Jan 18), Friday (Jan 19), or Monday (Jan 22). In advance of the meet-and-confer, please state which documents or
porƟons of documents you are asking to be Įled under seal, so that we are prepared for the call.

Here are the documents and tesƟmony marked conĮdenƟal we are planning to Įle:

          1.  AMZN_00045916
          2.  AMZN_00107862
          3.  AMZN_00022853
          4.  AMZN_00099452
          5.  IC-9 (demonstraƟve version provided by Amazon on January 12, 2024)
          6.  Nelson IH Ex. 10
          7.  AMZN_00103138
          8.  AMZN_00045704 (all emails in this chain before April 28, 2021 were already Įled, with redacƟons, at Dkt.
              #90-2 at 252; we will apply the same redacƟons here)
          9. AMZN_00092943
          10. AMZN_00092949
          11. AMZN_00103325
          12. Amazon-FTC-CID_09389533
                                                                            2




                                                                                                                        Ex. A, Page 76 of 164
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          13. AMZN-PRM-FTC-000000001
          14. AMZN-PRM-FTC-000000190
          15. Kalim IH Tr. pp. 193-199
          16. Nelson IH Tr. pp. 71-72, 180-182
          17. Amazon privilege log entries associated with IC-1, IC-36, IC-4, IC-5, IC-6, IC-17, IC-18, IC-19, IC-20, IC-21, IC-
              22, IC-31, IC-48, IC-9, IC-27, and IC-40

Thanks,
Evan

Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197




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                                                                                                     Ex. A, Page 77 of 164
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    Attachment 




                                                       Ex. A, Page 78 of 164
           Case 2:23-cv-00932-JHC Document 140-2 Filed 01/25/24 Page 79 of 164




Rottner, Adam

From:                Mendelson, Evan
Sent:                Tuesday, January 23, 2024 6:19 PM
To:                  Flahive Wu, Laura; Joseph Aronsohn; Jerjian, Olivia; Nardini, Thomas; Hoffman, Elena; Zwonik, Ryan;
                     Frech, Jacob
Cc:                  John C. Hueston; Moez M. Kaba; Joseph A. Reiter; Vicki Chou; Kelly, Kevin; Kim, Laura; Graubert, John;
                     Anthony, Stephen; Hall, John; Rodgers, Megan; Capuano, Marc; Payson, Kenneth; Howard, Jim; SEA
                     Docket; Chan, Gina; Green, Jennifer; Mejia-Portillo, Johana; Awad, Yara; MacDonald, Colin;
                     kristinachin@dwt.com
Subject:             Re: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)


The document being clawed back was produced in the investigation (in February 2023), not this litigation. The Rule
502(d) Order only applies to documents produced “in this proceeding.” The document is also responsive to RFP 1, which
is the subject of our motion to compel. We will note in the Motion that Amazon did not provide a basis for its clawback
request because the parties have not reached agreement on a privilege log protocol. (To be clear, we don’t think that
fact relieves Amazon of the burden to justify its privilege claim.). We don’t see how the prior privilege log could describe
redactions that weren’t added until last night.

Evan


From: Flahive Wu, Laura <lflahivewu@cov.com>
Sent: Tuesday, January 23, 2024 6:05 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Joseph Aronsohn <jaronsohn@hueston.com>; Jerjian, Olivia
<ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan
<rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Cc: John C. Hueston <jhueston@hueston.com>; Moez M. Kaba <mkaba@hueston.com>; Joseph A. Reiter
<jreiter@hueston.com>; Vicki Chou <vchou@hueston.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; Payson, Kenneth
<KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; SEA Docket <SEADocket@dwt.com>; Chan, Gina
<GinaChan@dwt.com>; Green, Jennifer <JenniferGreen@dwt.com>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>;
Awad, Yara <yawad@ftc.gov>; MacDonald, Colin <cmacdonald@ftc.gov>; kristinachin@dwt.com
<kristinachin@dwt.com>
Subject: RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)

Counsel,

The Stipulated Rule 502(d) Order (Dkt. 123), which the parties agreed to and the Court approved, governs challenges to
clawbacks made in the litigation. To the extent you intend to challenge Amazon's clawback and reproduction of IC-37,
you must follow the challenge procedures in the Rule 502(d) Order (Dkt. 123 ¶ 4.2). The challenge procedures do not
permit a clawback challenge to be made through a motion to compel. Instead, the Order sets forth a procedure for a meet-
and-confer and letter submission.

Amazon has already provided a privilege log for IC-37, see Amazon's Objections and Responses to Plaintiff's First Set of
Requests for Production of Documents, but once again notes that the parties have still not reached an agreed-upon
privilege logging protocol in the litigation.

Regards,

                                                             1




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Laura

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From: Mendelson, Evan <emendelson@ftc.gov>
Sent: Tuesday, January 23, 2024 11:22 AM
To: Flahive Wu, Laura <lflahivewu@cov.com>; Joseph Aronsohn <jaronsohn@hueston.com>; Jerjian, Olivia
<ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan
<rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Cc: John C. Hueston <jhueston@hueston.com>; Moez M. Kaba <mkaba@hueston.com>; Joseph A. Reiter
<jreiter@hueston.com>; Vicki Chou <vchou@hueston.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; Payson, Kenneth
<KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; SEA Docket <SEADocket@dwt.com>; Chan, Gina
<GinaChan@dwt.com>; Green, Jennifer <JenniferGreen@dwt.com>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>;
Awad, Yara <yawad@ftc.gov>; MacDonald, Colin <cmacdonald@ftc.gov>; kristinachin@dwt.com
Subject: RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)

[EXTERNAL]
Counsel,

We write regarding Amazon’s clawback from last night of the version of IC-37 (Amazon-FTC-CID_09389533) produced on
February 14, 2023. Based on the facts outlined in this paragraph, it appears Amazon last night added redactions related
to determinations made at the May 6, 2021 meeting. Specifically, based on Mr. England’s July 24, 2023 declaration,
Amazon did not previously redact from IC-37 determinations made during the May 6 meeting. (Mr. England did,
however, state that Amazon had redacted such determinations from approximately 20 other documents. Amazon
subsequently agreed to remove some of those redactions during our written exchanges.) Now, in the new version of IC-
37 you provided last night, Amazon has redacted the indicated portions of the following sentence on lines 44-
47
                            We are sequestering the February 14, 2023 version of IC-37 and therefore cannot compare
that version to the version you sent last night, but we infer, based on the facts outlined here, that Amazon last night
added the redactions in lines 44-47 and that those redactions reflect determinations made during the May 6
meeting. Please let us know as soon as possible if either of those inferences are incorrect.

We are planning to add the February 14 version of IC-37 to our Motion to Compel. Determinations made during the
May 6, 2021 meeting are not privileged for the reasons stated in our October 24 email and our Reply in Support of the
Motion to Desequester. Additionally, because Amazon is unable to satisfy the requirements of Fed. R. Evid. 502(b), the
February 14, 2023 production operated as a privilege waiver as to any redactions added last night. We only plan to
challenge the redactions that Amazon added to IC-37 last night. We are not arguing that Amazon has waived privilege
over the material it redacted on February 14, 2023. Please identify, by line number, which redactions you added last

                                                                            2




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night so that we can tell the Court which redactions we are challenging. Please also provide the basis for your
privilege claim as to those redactions.

As I stated above, we plan to add our challenge to IC-37 to the Motion to Compel we are planning to file
tomorrow. Therefore, please provide your response by 5:00pm Eastern today, January 23. If you are standing by your
clawback claim, we believe we have already met our meet-and-confer obligations given our October 30 phone call
(during which we discussed determinations made during the May 6 Meeting and the requirements of Rule 502(b)) and
extensive written correspondence about the clawbacks. Nevertheless, if you believe that an additional call would be
productive or is required by the Local Rules, please provide times tomorrow when you are available.

Evan


Evan M. Mendelson
Federal Trade Commission
Bureau of Consumer Protection
Enforcement Division
600 Pennsylvania Avenue, NW, CC-9528
Washington, DC 20580
Phone: (202) 326-3320
Fax: (202) 326-3197

From: Flahive Wu, Laura <lflahivewu@cov.com>
Sent: Monday, January 22, 2024 9:52 PM
To: Mendelson, Evan <emendelson@ftc.gov>; Joseph Aronsohn <jaronsohn@hueston.com>; Jerjian, Olivia
<ojerjian@ftc.gov>; Nardini, Thomas <tnardini@ftc.gov>; Hoffman, Elena <ehoffman@ftc.gov>; Zwonik, Ryan
<rzwonik@ftc.gov>; Frech, Jacob <jfrech@ftc.gov>
Cc: John C. Hueston <jhueston@hueston.com>; Moez M. Kaba <mkaba@hueston.com>; Joseph A. Reiter
<jreiter@hueston.com>; Vicki Chou <vchou@hueston.com>; Kelly, Kevin <Kkelly@cov.com>; Kim, Laura
<LKim@cov.com>; Graubert, John <jgraubert@cov.com>; Anthony, Stephen <santhony@cov.com>; Hall, John
<jhall@cov.com>; Rodgers, Megan <mrodgers@cov.com>; Capuano, Marc <MCapuano@cov.com>; Payson, Kenneth
<KennethPayson@dwt.com>; Howard, Jim <JimHoward@dwt.com>; SEA Docket <SEADocket@dwt.com>; Chan, Gina
<GinaChan@dwt.com>; Green, Jennifer <JenniferGreen@dwt.com>; Mejia-Portillo, Johana <jmejiaportillo@ftc.gov>;
Awad, Yara <yawad@ftc.gov>; MacDonald, Colin <cmacdonald@ftc.gov>; kristinachin@dwt.com
Subject: RE: FTC v. Amazon.com, Inc., et al., No. 2:23-cv-00932-JHC (W.D. Wash.)

Counsel,

Thank you for your time on today's meet-and-confer, and for advising that we may have agreement on sealing at least
some materials.

We are following up to confirm Amazon's position regarding public filing of the documents listed below. Attached please
find versions of documents 2, 8, and 14, highlighting in blue the text that is to be sealed/redacted. Please let us know your
position on the material Amazon seeks to seal as well as your plan for filing excerpts of Amazon's privilege logs.

Due to the inadvertent pproduction of privileged
                                      p      g material and to harmonize pprivilege
                                                                                 g redactions,, Amazon is clawing back
document number 12 on the list below ((IC-37 / Amazon-FTC-CID_09389533)
                                                                    _          and replacing it with the attached
demonstrative version of the document with updated privilege redactions. W We will follow up with a formal production and
overlay production to correct your records. As stated in the chart below, Amazon's position is that this updated version of
the document should be sealed in its entirety.




                                                              3




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Document
Number in   Bates Number               Amazon's Position
FTC List
1.          AMZN_00045916              Amazon consents to the public filing of this document.

2.          AMZN_00107862              Amazon consents to the public filing of the attached
                                       redacted copy of this document. Such redactions are
                                       necessary to protect highly sensitive commercial
                                       information.
3.          AMZN_00022853              Amazon does not consent to the public filing of this
                                       document. This entire document should be sealed because it
                                       is filled with highly sensitive commercial information.
4.          AMZN_00099452              Amazon consents to the public filing of this document.

5.          IC-9 (demonstrative        Amazon consents to the public filing of the redacted version
            version provided by        of this document that was provided to the FTC on January
            Amazon on January 12,      12, 2024.
            2024)
6.          Nelson IH Ex. 10           We understand the FTC is no longer planning to file this
                                       document. Please let us know if that is incorrect.
7.          AMZN_00103138              Amazon consents to the public filing of this document.

8.          AMZN_00045704              Amazon consents to the public filing of the attached
                                       redacted copy of this document. Such redactions are
                                       necessary to protect personal information of Amazon survey
                                       participants.
9.          AMZN_00092943              Amazon consents to the public filing of this document.

10.         AMZN_00092949              Amazon does not consent to the public filing of this
                                       document. This entire document should be sealed because it
                                       is filled with highly sensitive commercial information.
11.         AMZN_00103325              Amazon consents to the public filing of this document.

12.         Amazon-FTC-                Amazon does not consent to the public filing of this
            CID_09389533               document. This entire document should be sealed because it
                                       is filled with highly sensitive commercial information.

                                       In addition, Amazon is clawing back the previous version of
                                       IC-37 and replacing it with the attached version.
13.         AMZN-PRM-FTC-              Amazon consents to the public filing of this document.
            000000001
14.         AMZN-PRM-FTC-              Amazon consents to the public filing of the attached
            000000190                  redacted copy of this document. Such redactions are
                                       necessary to protect highly sensitive commercial
                                       information. The document also contains privilege
                                       redactions.
15.         Kalim IH Tr. pp. 193-199   Amazon consents to the public filing of this document.

16. & 19.   Nelson IH Tr. pp. 71-72,   Amazon consents to the public filing of this document.
            180-182, 111
17.         Amazon privilege log       Amazon does not consent to the public filing of the privilege
            entries                    log entries.
18.         AMZN_00171492              Amazon consents to the public filing of this document.

                                                    4




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 20.                 List of litigation hold               Amazon does not consent to the public filing of this
                     notices                               document. This entire document should be sealed to protect
                                                           the privacy of Amazon employees cited herein.

                                                           We understand that you now plan to "describe the list at a
                                                           high level, by stating the number of recipients of the
                                                           litigation hold on various dates, without naming any specific
                                                           hold notice recipients." Amazon does not object to that plan.


We will follow up separately concerning the proposed stipulation language you have requested.

Regards,

Laura

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Thank you for your cooperation.




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                                                IJHIMJHIUJOHCFMPXXBTBEEFE
                                                CZUIF'5$




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                                              )JHIMJHIUJOHCFMPXJTPSJHJOBM
                                              IJHIMJHIUJOHBCPWFXBTBEEFECZUIF
                                              '5$




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)JHIMJHIUJOHBCPWFJTPSJHJOBM
IJHIMJHIUJOHCFMPXXBTBEEFECZ'5$




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        1                        FEDERAL TRADE COMMISSION
        2
        3   In the Matter of:                    )
        4   AMAZON.COM, INC.                     )   No. 2123050
        5   ----------------------------------)
        6
        7                             August 16, 2022
        8
        9                        Investigational Hearing
       10                              REID NELSON
       11
       12                        Federal Trade Commission
       13                  Henry M. Jackson Federal Building
       14                    915 Second Avenue, Suite 2896
       15                          Seattle, Washington
       16
       17
       18
       19
       20
       21
       22
       23
       24   REPORTED BY:   Wade J. Johnson, RPR
       25                  CCR No.:   2574




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                                        Nelson
      Amazon.com, Inc.                                              8/16/2022

        1   it being the same design, is what called our attention to
        2   this being a global issue.
        3              Further, in 2017, our team ran follow-up research
        4   in the U.S. specifically with non-Prime customers and
        5   observed customers critiquing some of the ways that that page
        6   was designed in terms of how the contractual obligations were
        7   presented, the no thanks was presented, and the upsell CTA
        8   designs.
        9        Q.    To what extent, if at all, were the concerns that
       10   you had about consumers not appreciating the terms and
       11   conditions relayed to SVPs?
       12        A.    In 2019, we presented -- when I say we, Sara
       13   Kleiner, and Masuma -- presented a document to Russ.        And in
       14   that document, it spoke to some of the challenges around
       15   people clicking on things without having fully read what was
       16   on the page.
       17        Q.    Were there other instances in which you made SVPs
       18   aware of this issue, besides the 2019 meeting?
       19        A.    Me personally?
       20                     MS. VANDRUFF:   Objection.   Misstates --
       21        Q.    Let me withdraw question.
       22              Were there other instances in which you were aware
       23   that executives were made aware of this issue, other than one
       24   you've just identified for me?
       25        A.    Yes.



                            For The Record, Inc.
               (301) 870-8025 - www.ftrinc.net - (800) 921-5555
                                                                             71




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                                        Nelson
      Amazon.com, Inc.                                                8/16/2022

        1          Q.   What are those?
        2          A.   You're saying SVPs, specifically?
        3          Q.   SVPs specifically.
        4          A.   In 2021, there was a review at the Dave Clark
        5   level, the C Team, that Llew Mason was in attendance, Jamil
        6   Ghani was in attendance, and Dave Clark -- and I cannot speak
        7   to who else was there -- but those were kind of the primary
        8   content sponsors, so to speak, and Dave Clark being the
        9   primary reviewer.
       10               And the goal of -- the objective of that
       11   conversation was to present some of the challenges related to
       12   design and business impact pertaining to the UPDP upsells.
       13          Q.   What's the C Team?
       14          A.   The C Team, as I understand it, was sort of top
       15   SVP, CEO level, key leaders.       I can't speak more to what it
       16   is beyond that.      I just heard it referenced as C Team, and I
       17   know it was a lot of the bigwigs.
       18          Q.   Other than the 2019 meeting that you testified
       19   about with Mr. Grandinetti and the 2021 meeting with
       20   Mr. Clark, are there other instances?
       21                      MS. VANDRUFF:   Object to form.   Vague.
       22                      You may answer the question.
       23          A.   Yes.    Not by my team, not by me personally.
       24          Q.   What are the other instances that you are referring
       25   to?



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                                     Nelson
      Amazon.com, Inc.                                          8/16/2022

        1        A.   That would be the Dave Clark C Team review in 2021.
        2        Q.   Is it your understanding that the Dave Clark C Team
        3   review in 2021 was an outgrowth of what took place in the
        4   summer of 2019, or are they separate escalations?
        5        A.   It is an outgrowth continuation of what started in
        6   2016.
        7        Q.   And by the time it reached -- well, at the time --
        8   when it reached Mr. Clark in 2021, it's your understanding
        9   that Mr. Clark did have the authority to direct Prime to do
       10   various things?
       11       A.    It is.
       12       Q.    Let me direct to you page 9 on, and then we're
       13   going to go to kind of the top here.   And let me see if I can
       14   short-circuit this a little bit.
       15             This is reporting some of the results from the
       16   Project Lucent test, correct?
       17       A.    Correct.
       18       Q.    And even though you didn't conduct those tests
       19   yourself, you were familiar with them at around the time this
       20   document was prepared?
       21       A.    Oh, yes.
       22       Q.    You've reviewed the results and studied them?
       23       A.    Yes.
       24       Q.    I think we said this, but CTA stands for call to
       25   action?



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                                        Nelson
      Amazon.com, Inc.                                             8/16/2022

        1        A.     Yeah.   Heartbeat --
        2        Q.     Yes.
        3        A.     -- is a tool within the customer service
        4   organization whereby, if you have permissions as an analyst,
        5   you can type in certain keywords and select certain customer
        6   feedback channels and search for relevant, potentially
        7   relevant, verbatims and chats, phone calls.     You could search
        8   social media.      You can search customer service contacts.    You
        9   can search customer reviews, even like product reviews, app
       10   reviews, for like the app store, any number of VOC channels.
       11       Q.      So Heartbeat is a database or compilation of VOC
       12   channels?
       13        A.     Correct.
       14        Q.     Is Heartbeat available to everyone at Amazon?
       15        A.     You have to request permissions.   I don't know if
       16   there's limitations to getting those permissions.
       17        Q.     Back to two other things before I lose track of
       18   this.   Do you have an understanding of approximately when the
       19   Dave Clark meeting occurred?
       20        A.     It was probably in May.
       21        Q.     I'm not trying to sort of challenge you.
       22        A.     Yeah.
       23        Q.     Do you know that it occurred based on conversations
       24   you had with people, or are you assuming it occurred?
       25        A.     It occurred.



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                                       Nelson
      Amazon.com, Inc.                                           8/16/2022

        1        Q.   Tell me how --
        2        A.   Based on we asked for an update from that team, not
        3   from Dave Clark, but from Nikki.    We wanted to know what
        4   happened in the meeting.
        5        Q.   And what did Nikki tell you?
        6        A.   She set up time to give us an update, and we met as
        7   a group with Mary Pat and myself.   I don't remember who else
        8   was in that meeting, other than Nikki, Nikki and -- I don't
        9   think Ben was there, maybe Caroline.   And the specifics of
       10   exactly what she gave us -- she didn't go into a great deal
       11   of detail, but there seemed to be alignment from Dave that
       12   they should not use confirmshaming-type of language in the no
       13   thanks CTA.   And that price and auto renew were fair game to
       14   show in primary body content, not just in fine print.     And
       15   that Dave and/or other leaders -- there was consensus that
       16   the button text need to still have a benefit in it, such as
       17   like getting free shipping.   Like I remember a quote that she
       18   was citing -- of course, this is sort of second handled, of
       19   course -- but something along the lines of, Why wouldn't we
       20   state a benefit near that button?   In this case, shipping
       21   being the primary benefit that's being offered in UPDP.
       22             So there seemed -- she didn't directly state that
       23   he didn't want the no thanks to become a button or anything
       24   like that, but it seemed like the focus from Dave was, you
       25   know, we'll still make sure the button has a benefit in it



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                                     Nelson
      Amazon.com, Inc.                                             8/16/2022

        1   and that the no thanks at least doesn't use somewhat
        2   misleading language and that price and auto renew are
        3   visible.
        4        Q.    To your knowledge, were those changes implemented?
        5        A.    The changes that have been implemented that I've
        6   seen are basically those.   They've add the word "with Prime,"
        7   to the button, to the yellow button, to attempt to help
        8   convey what that's doing.
        9        Q.    But changes beyond the ones that you just
       10   enumerated as having been approved by Dave Clark have not
       11   been implemented?
       12        A.    And I should say I don't know that Dave Clark
       13   approved those, but that's what Nikki sort of indicated as
       14   having been discussed in that meeting with Dave Clark.     So I
       15   don't know who said what, and I don't know what decisions
       16   were made, but that was her summary to us.
       17              What other changes?
       18        Q.    No, I said that other changes though were not made,
       19   as far as you know?
       20        A.    Other changes have not been made.
       21        Q.    Just in general, do you know approximately what
       22   percentage of -- in let's say 2022 -- what percentage of
       23   worldwide Prime members are American Prime members?
       24        A.    Don't know.
       25        Q.    Ballpark?



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    Attachment 




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      1                     FEDERAL TRADE COMMISSION
      2
      3   In the Matter of:                )
      4   AMAZON.COM, INC.,                ) File No. 212-3050
      5                   a corporation. )
      6   ------------------------------)
      7                              Tuesday, January 17, 2023
      8
      9                              Via Zoom Videoconference
     10
     11
     12              The above-entitled matter came on for
     13   investigational hearing, pursuant to civil
     14   investigative demand, at 8:09 a.m. Eastern Time.
     15
     16
     17
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     25




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                                                                        193
                                     Kalim
    Amazon.com, Inc.                                              1/17/2023

      1        Q.   And do you remember who the, quote, driver of
      2   the project was?
      3        A.   I believe it was Neel Malhotra.
      4        Q.   And you said Neel Malhotra?
      5        A.   Neel Malhotra.
      6        Q.   Okay.   Thank you.
      7             And who is Mr. Malhotra?
      8        A.   So he was -- at the time, he was a senior
      9   product manager, part of the, you know, engagement and
     10   retention team.
     11        Q.   Did you attend the meeting referenced in
     12   Exhibit 12?
     13        A.   Maybe -- I don't remember.     I may have.     I
     14   don't -- I can't recall.
     15        Q.   What do you recall about the topic discussed at
     16   this meeting if you attended?
     17        A.   I -- I can't comment unless I see the doc.
     18             (Exhibit Number 13, AMZN_00143228-00143233,
     19   4-21-2022 email from Jason King to Omar Kalim, was
     20   marked for identification.)
     21             BY MS. JERJIAN:
     22        Q.   Mr. Kalim, I'm going to show you what's been
     23   marked as Exhibit 13.
     24             Let me know when you see the exhibit.
     25        A.   Yes, I see it.


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                                    Kalim
    Amazon.com, Inc.                                              1/17/2023

      1        Q.   This is an email from Jason King to you, dated
      2   April 21, 2022; is that correct?
      3        A.   Correct.
      4        Q.   Who is Jason King?
      5        A.   So Jason King was a program manager in
      6   Amazon Prime.
      7        Q.   The subject line reads "Forward: [Confidential]
      8   Prime Hexagon Update."
      9             What is Prime Hexagon?
     10        A.   "Prime Hexagon" is basically referring to those
     11   headwinds that we just discussed.       And it was
     12   specifically -- it was specifically referring to six
     13   headwinds, if I recall, that Prime was facing.
     14        Q.   What were the six headwinds?
     15        A.   It's been a while.
     16             I think one of them was this Gurupa
     17   deprecation, so the TrueSPC one.
     18             Another one was -- there was a project called
     19   Autobahn.    I forget what it was about.
     20             Then -- what else -- there was one on Google,
     21   Google IAP, if I recall.
     22             And there were three others.     I don't recall
     23   which ones they were.
     24        Q.   Okay.   I just want to go over I think two of
     25   the ones you mentioned because I had a hard time


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                                      Kalim
    Amazon.com, Inc.                                              1/17/2023

      1   catching them.
      2             The second one you mentioned was
      3   Aliban (phonetic)?       Can you spell that out for me,
      4   please.
      5        A.   Autobahn.
      6        Q.   Oh.
      7        A.   Autobahn, so A-U-T-O-B-A-H-N.
      8        Q.   Thank you.
      9             And the third one was Google IEP; is that
     10   correct?
     11        A.   IAP.
     12        Q.   IAP.    Understood.
     13             What does "IAP" stand for?
     14        A.   In-app purchase.
     15        Q.   What does "Autobahn" reference or mean?
     16        A.   I don't remember, but I remember it was
     17   related to some payments projects, project, if I
     18   recall.      Yeah.
     19        Q.   Aside from Project Gurupa/TrueSPC, Autobahn and
     20   Google IAP, do you remember any of the other six
     21   headwinds?      I think there are three that we're
     22   missing.
     23        A.   Yeah.      I'm trying to recall.
     24             I don't remember -- I remember these three.
     25   There were a total of six, but there were three other


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                                                                        196
                                    Kalim
    Amazon.com, Inc.                                              1/17/2023

      1   projects as well.    It's slipped my mind.
      2        Q.   Okay.
      3             Looking at the email that Mr. King sent you, he
      4   actually forwarded you an email that starts on the
      5   second page of Exhibit 13; correct?
      6        A.   Yes.
      7        Q.   What is your understanding of the reason
      8   Mr. King forwarded you this email?
      9             MR. ANTHONY:   Objection.    Foundation.
     10             THE WITNESS:   Sorry.   I'm just -- give me just
     11   a minute to go through that email.
     12             BY MS. JERJIAN:
     13        Q.   Sure.
     14             (Document review.)
     15        A.   Yeah, I don't know exactly why he sent me this
     16   email.
     17        Q.   Did you ask him to forward you this email?
     18        A.   I don't remember.
     19        Q.   Did you work with Mr. King?
     20        A.   Yes, I worked with Jason.
     21        Q.   How did you work with Jason, in what capacity?
     22        A.   So there were -- in a couple of capacities.
     23             One was, when it came to Hexagon, I was asked
     24   by Ben to basically put together like a view of all the
     25   different headwinds and a status update for Jamil.


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                                    Kalim
    Amazon.com, Inc.                                              1/17/2023

      1             So I remember I had reached out to Jason
      2   because he was -- I remember like he was looking at
      3   those headwinds and -- but I don't specifically
      4   remember like him asking to forward me an email, like
      5   this email.      But generally speaking, I do remember like
      6   engaging with him on that, because he was close to it.
      7   That was the first capacity.
      8             And the second capacity in which I engaged with
      9   him was more with regards to the OP cycle of Prime,
     10   which is basically operating planning for the upcoming
     11   year.
     12             So those are the two capacities in which I
     13   worked with him.
     14        Q.   Okay.   Looking at the first email, dated
     15   April 21, in Exhibit 13, you -- strike that.
     16             Looking at Exhibit 13, do you see the first
     17   sentence that states, "Hi Omar, The most updated
     18   information on headwinds is in the update below"?
     19        A.   Yes.
     20        Q.   Do you see that?
     21        A.   I see it.
     22        Q.   And earlier you testified that there were six
     23   headwinds; is that correct?
     24        A.   Correct.
     25        Q.   Do you notice that there are six paragraphs


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                                      Kalim
    Amazon.com, Inc.                                                1/17/2023

      1   marked by asterisks in Mr. King's email?
      2        A.    Correct.
      3        Q.    Does each paragraph marked with an asterisk
      4   represent a headwind?
      5        A.    So I'm not sure about CX satisfaction upsell
      6   and cancel being two separate headwinds or whether they
      7   were one.     That part I don't remember.
      8        Q.    Understood.
      9              Do you -- if they're not each -- strike that.
     10              If CX satisfaction upsell and CX satisfaction
     11   cancel are not separate headwinds, they are
     12   nevertheless a headwind of some kind, as you understand
     13   it; correct?
     14              MR. ANTHONY:    Object to the form.
     15              THE WITNESS:    I understood them to be
     16   categorized as headwinds.
     17              BY MS. JERJIAN:
     18        Q.    Why -- strike that.
     19              Why is a customer satisfaction -- strike that,
     20   too.
     21              Why is the customer experience satisfaction
     22   upsell considered a headwind to Prime?
     23        A.    So I honestly don't even remember what the
     24   project was.      Maybe if I can read it -- it was managed
     25   by a different PM.       Maybe if I read it I can understand


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                                    Kalim
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      1   what it was.
      2        Q.   Do you have any knowledge outside of this email
      3   on customer experience satisfaction upsell being a
      4   headwind?
      5        A.   I don't recall what that project was.         I
      6   remember it was discussed, but I don't specifically
      7   remember what it was.     As I said, it wasn't -- like I
      8   wasn't managing it.
      9        Q.   You can go ahead and read that paragraph if it
     10   refreshes your recollection.
     11        A.   Sorry.   Do you mean the CX satisfaction upsell
     12   or the CX satisfaction cancel?
     13        Q.   Let's start with the upsell.     But I will also
     14   be asking you about the cancel.
     15        A.   Okay.
     16             (Document review.)
     17             Okay.    I've read it.
     18        Q.   Did reading it refresh your recollection as to
     19   what the customer experience satisfaction upsell
     20   headwind is?
     21        A.   Yes.    But I was -- even then like I didn't -- I
     22   wasn't involved and I didn't know all the full details
     23   of those projects, both of them actually.
     24        Q.   So just to be clear, you didn't do any work
     25   with respect to the customer experience satisfaction


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